                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division


 UNITED STATES OF AMERICA,

           v.
                                                     Criminal No. 2:20cr59-01
 BRIAN TAYLOR SUMNER,

                     Defendant.


                                       ORDER

      Before the Court is the Government’s Motion to Continue Trial. ECF No. 78.

For the following reasons, the Government’s Motion to Continue Trial (ECF No. 78)

is GRANTED. The trial date of March 16, 2021 is STRICKEN.

      I.        BACKGROUND

      On July 24, 2020, a Sealed Indictment was returned and filed in open court

indicting Defendant Brian Taylor Sumner and his co-defendants on multiple counts

relating to conspiracy to distribute drugs. ECF No. 3. Defendant made his initial

appearance on September 18, 2020. Minute Entry, ECF No. 31. He was released on a

personal recognizance bond with pretrial supervision. Release Order, ECF No. 34.

      On October 22, 2020, the Parties appeared before a Magistrate Judge for

arraignment proceedings. Minute Entry, ECF No. 49. A jury trial was set then for

March 16, 2021. Id. Constitutional “Speedy Trial” rights were waived by agreement

of the Parties because of the complexity of the case and in the interests of justice. Id.

      Defendant has violated the conditions of release and has escaped this Court’s

supervision. Mot. to Continue at 1, ECF No. 78. Defendant remains a fugitive. Id. The


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Government moves for a continuance based upon “[D]efendant’s absence and

unavailability for trial.” Id. It requests that trial be continued until Defendant is

apprehended. Id. Defense counsel does not object to the Motion. Id. at 2.

      II.    LEGAL STANDARDS

      “[D]istrict courts have broad discretion in determining whether to grant or

deny a request for a continuance.” United States v. Johnson, 683 F. App’x 241, 251

(4th Cir. 2017); see also United States v. Lawrence, 161 F.3d 250, 254 (4th Cir. 1998)

(“A district court is entitled to broad discretion with respect to a decision to deny a

continuance.”). A district court abuses its discretion with “unreason[able] and

arbitrary insistence on expeditiousness in the face of a justifiable request for delay.”

United States v. Bakker, 925 F.2d 728, 735 (4th Cir. 1991) (quoting Morris v. Slappy,

461 U.S. 1, 11 (1983)).

      When deciding a motion for a continuance, the Court must bear in mind the

rights of the defendant and the public provided by the Speedy Trial Act. 18 U.S.C.

§ 3161. In exercising its discretion to grant a continuance, the Court must specifically

find that the ends of justice to be served by a continuance of the trial date “outweigh

the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

§ 3161(h)(7)(A). “In doing so, the [Court] must consider: whether failure to grant the

motion would result in a miscarriage of justice; whether the case is unusual or

complex; and whether the failure to grant such a continuance would deny the

defendant reasonable time to obtain counsel, would unreasonably deny the defendant

or the Government continuity of counsel, or would deny counsel for the defendant or




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the attorney for the Government the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence.” United States v. Ellis,

781 F. App’x 271, 272 (4th Cir. 2018) (citing 18 U.S.C. § 3161(h)(7)(B)(i)–(iv)).

       Pursuant to 18 U.S.C. § 3161(h)(3)(A), time resulting from delay caused by the

unavailability or absence of a defendant is excluded from the speedy trial calculation.

This includes time accrued where the defendant is, or co-defendants are, at large. See,

e.g., United States v. Trotman, 406 F. App’x 799, 807 (4th Cir. 2011) (seventeen-year

delay between indictment and defendant’s trial did not violate Speedy Trial Act

because defendant fled and remained a fugitive for fifteen years); United States v.

Eccleston, 615 F. App’x 767, 776 (4th Cir. 2015); United States v. Izegwire, 371 F.

App’x 369, 373 (4th Cir. 2010); United States v. Wearing, No. 3:04cr0092, 2005 WL

1221826, at *1 (W.D. Va. May 23, 2005) (“[T]he time resulting from the delay caused

by [co-defendant’s] fugitive status will be excluded . . . from speedy trial calculation.”);

Wackman v. United States, No. WDQ060427, 2011 WL 5848978 (D. Md. Nov. 17,

2011) (holding that defendant’s fugitive status in addition to other factors justified a

later trial date).

       III.   ANALYSIS

       The delay in this trial is justified. The delay is due to the absence and

unavailability of Defendant. This time is excluded under the Speedy Trial Act. See

Trotman, 406 F. App’x at 807. Defendant was released on a personal recognizance

bond in July 2020. Defendant has absconded supervision and remains a fugitive. Mot.

to Continue at 1, ECF No. 78.




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      Defendant is of course responsible for his fugitive status and therefore he is

also responsible for the delay. This factor favors granting the Government’s

unopposed motion. Accordingly, the Court finds that the ends of justice being served

by a continuance of Defendant’s trial date “outweigh the best interest of the public

and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

      IV.    CONCLUSION

      For the foregoing reasons, the Government’s unopposed Motion to Continue

Trial (ECF No. 78) is GRANTED. The trial date for Defendant’s trial is STRICKEN.

Counsel shall confer and contact the Courtroom Deputy within ten days of the date

of this Order to agree upon a strategy for rescheduling the trial.

      IT IS SO ORDERED.




                                                             /s/
                                                    Arenda L. Wright Allen
                                                  United States District Judge
March 11, 2021
Norfolk, Virginia




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